                 Case 1:18-cv-04982-FB-JO Document 4-1 Filed 09/04/18 Page 1 of 1 PageID #: 27


AO 440 (Rev. 06/12) Summons in a Civil Action


                                                 UNITED STATES DISTRICT COURT
                                                                      for the
                                                           Eastern District of New York

                                                                            )
                                                                            )
 Cassandra Song individually and on behalf of all others                    )
 similarly situated                                                         )
                                                                            )
                                                                            )
                                                                            )
                                      Plaintiff(s)                          )
                                           v.                               ) Civil Action No. 1:18-cv-04982 FB-JO
                                                                            )
 Kind LLC, Kind INC.                                                        )
                                                                            )
                                                                            )
                                     Defendant(s)                           )
                                                                            )

                                                         SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)              Kind INC.
                                                c/o CORPORATION SERVICE COMPANY
                                                251 LITTLE FALLS DRIVE
                                                WILMINGTON, DE 19808



            A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you are
  the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12
  (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
  Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
  attorney, whose name and address are:         Sheehan & Associates, P.C. 891 Northern Blvd., 201, Great Neck, NY 11021




         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.

                                                                           DOUGLAS C. PALMER
                                                                           CLERK OF COURT


  Date:      9/4/2018                                                       s/Kimberly Davis
                                                                                     Signature of Clerk or Deputy Clerk
